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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                               CRIMINAL ACTION NO. 1:06CR129-P-D


KENNETH BUSBY AND
JAMES ROY THOMPSON


                                              ORDER

       This cause is before the Court on defendant Thompson’s Motion for Continuance [28]. The

Court, having reviewed the motion and being otherwise fully advised in the premises, finds as

follows, to-wit:

       The trial of this matter is currently set for December 11, 2006. Thompson’s counsel seeks

a continuance in order to complete additional investigation and facilitate the filing and hearing of

pretrial motions. The government does not oppose the requested continuance. Based on the

foregoing, the Court finds that the motion is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from December 11, 2006 until the new trial date to be set in this matter. The time

is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant additional time to investigate and prepare a defense to

the charges at issue. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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 1.    The defendant’s Motion for Continuance [28] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Tuesday, January

       30, 2007 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from December 11, 2006 until January 30, 2007 is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is January 16, 2007;

 5.    That the deadline for submitting a plea agreement is January 23, 2007.

 SO ORDERED, this the 21st day of November, 2006.


                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
